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Attorneys for Lead Plaintiff Richard Worley
and the Proposed Settlement Class

                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

 COURTNEY ELKIN, Individually and on          Case No.: 2:17-cv-02025-JCJ
 Behalf of All Others Similarly Situated,
                                              LEAD PLAINTIFF’S UNCONTESTED
                              Plaintiff,      MOTION FOR FINAL APPROVAL OF
                                              SETTLEMENT, CLASS CERTIFICATION,
               v.
                                              AND APPROVAL OF PLAN OF
 WALTER INVESTMENT MANAGEMENT                 ALLOCATION
 CORP., GEORGE M. AWAD, ANTHONY
 N. RENZI, and GARY L. TILLETT,

                              Defendants.
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        Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Lead Plaintiff Richard

Worley hereby moves this Court, before the Honorable J. Curtis Joyner, on December 5, 2018 at

10:30 a.m. in Courtroom 17-A of the United States District Court for the Eastern District of

Pennsylvania, James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA 19106, or at

such other location and time as set by the Court, to enter a judgment and order (i) granting final

approval of the settlement of this litigation; (ii) granting class certification for settlement purposes;

and (iii) approving the Plan of Allocation of settlement proceeds and the form of Notice.

        This Motion is based on the Declaration of Lee Albert in Support of (I) Lead Plaintiff’s

Motion for Final Approval of Class Action Settlement, Class Certification, and Plan of Allocation,

(II) and Plaintiff’s Counsel’s Motion For an Award of Attorneys’ Fees and Reimbursement of

Litigation Expenses, the Memorandum of Law in Support of Lead Plaintiff’s Motion for Final

Approval of Settlement, Class Certification, and Approval of Plan of Allocation, and all other papers

and proceedings herein. A proposed Judgment and Order Approving Class Action Settlement, which

was negotiated by the parties to the Settlement, and a proposed Order Approving Plan of Allocation

of Net Settlement Fund are also submitted herewith.

        Pursuant to Local Rule 7.1(b), I certify that this motion is uncontested.

Dated: October 31, 2018                         Respectfully submitted,


                                                GLANCY PRONGAY & MURRAY LLP

                                                By: /s/ Lee Albert
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                           Lead Counsel for Lead Plaintiff and the Proposed
                           Settlement Class




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                                     PROOF OF SERVICE


       I, the undersigned say:

       I am not a party to the above case and am over eighteen years old.

       On October 31, 2018, I served true and correct copies of the foregoing document, by

posting the document electronically to the ECF website of the United States District Court for

the Eastern District of Pennsylvania, for receipt electronically by the parties listed on the Court’s

Service List.

       I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on October 31, 2018.



                                                      s/ Lee Albert
                                                      Lee Albert
